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 Attorneys for Eyre Plaintiffs

                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                   PENDLETON DIVISION

OREGON FIREARMS FEDERATION, INC.,             Case No. 2:22-cv-01815-IM (Lead Case)
et al.,                                       Case No. 3:22-cv-01859-IM (Trailing Case)
                    Plaintiffs,               Case No. 3:22-cv-01862-IM (Trailing Case)
        v.                                    Case No. 3:22-cv-01869-IM (Trailing Case)
TINA KOTEK, et al.,
                                              CONSOLIDATED CASES
                             Defendants,
       and                                    FOURTH AMENDED JOINT EXHIBIT
                                              LIST
OREGON ALLIANCE FOR GUN SAFETY,
                      Intervenor-Defendant.
MARK FITZ, et al.,
                             Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                             Defendants.

KATERINA B. EYRE, et al.,
                             Plaintiffs,
       v.
ELLEN F. ROSENBLUM, et al.,
                             Defendants.
       and
OREGON ALLIANCE FOR GUN SAFETY,



FOURTH AMENDED JOINT EXHIBIT LIST                                                    1
                Case 2:22-cv-01815-IM          Document 251         Filed 06/19/23      Page 2 of 37




                                 Intervenor-Defendant.

      DANIEL AZZOPARDI, et al.,
                                         Plaintiffs,
                 v.
      ELLEN F. ROSENBLUM, et al.,
                                         Defendants.



               The parties submit the following fourth amended joint exhibit list. This list only includes
     trial exhibits admitted into evidence. Withdrawn and excluded exhibits are referenced in earlier
     versions of this joint list. Legislative fact exhibits are listed separately.



                                              PLAINTIFFS’ EXHIBITS

No.                   Description              Stipulated 1         Defendants’            Pre-     Ident.    Admit.
                                                                    Objection(s)          admit.    (Court    (Court
                                                                                          (Court      Use       Use
                                                                                            Use      Only)     Only)
                                                                                           Only)
1.           Text of Measure 114               All                                                            X
             (Plaintiffs’ Dep. Ex. 7)          purposes
2.           Patent No. 27,393 (1860)          All                                                  6/5       X
                                               purposes                                             6/7
3.           Patent No. 30,446 (1860)          All                                                  6/5       X
                                               purposes                                             6/7
4.           News from Washington, The         All                                                  6/7       X
             New York Times (1864)             purposes

5.           Patent No. 55,012 (1866)          All                                                  6/7       X
                                               purposes

6.           Patent No. 57,808 (1866)          All                                                  6/5       X
                                               purposes                                             6/7



         1
             All parties stipulate to the authenticity of all exhibits unless stated otherwise in the Objections.
      FOURTH AMENDED JOINT EXHIBIT LIST                                                                       2
           Case 2:22-cv-01815-IM        Document 251       Filed 06/19/23    Page 3 of 37




                                       PLAINTIFFS’ EXHIBITS

No.             Description            Stipulated 1       Defendants’          Pre-    Ident.   Admit.
                                                          Objection(s)        admit.   (Court   (Court
                                                                              (Court     Use      Use
                                                                                Use     Only)    Only)
                                                                               Only)
7.      Hearings Before the            All                                             6/9      X
        Committee on Ways and          purposes
        Means House of
        Representatives, 73rd
        Congress, H.R. 9066 (1934)

8.      Rebels & Loyalists: The        Admissible     FRE 802 (hearsay) as                      X
        Revolutionary Soldier in       (Photos        to text.
        Philadelphia, Katcher (1976)   only)
        (Photos only)

33.     Firearm Production in the                     FRE 802 (hearsay)                6/6      X
        United States, NSSF (2020)                                                     6/8
        (may be offered as learned
        treatise under FRE 803(18))
34.     2018 Annual Firearms           All                                                      X
        Manufacturing and Export       Purposes
        Report, US DOJ, US ATF

35.     2019 Annual Firearms           All                                                      X
        Manufacturing and Export       Purposes
        Report, US DOJ, US ATF

36.     2020 Annual Firearms           All                                                      X
        Manufacturing and Export       Purposes
        Report, US DOJ, US ATF
37.     2021 Annual Firearms           All                                                      X
        Manufacturing and Export       Purposes
        Report, US DOJ, US ATF

42.     Firearms Commerce in the       All                                                      X
        United States, Annual          Purposes
        Statistical Update 2021, US
        DOJ, US ATF




      FOURTH AMENDED JOINT EXHIBIT LIST                                                         3
              Case 2:22-cv-01815-IM      Document 251        Filed 06/19/23    Page 4 of 37




                                        PLAINTIFFS’ EXHIBITS

No.                Description           Stipulated 1       Defendants’          Pre-    Ident.   Admit.
                                                            Objection(s)        admit.   (Court   (Court
                                                                                (Court     Use      Use
                                                                                  Use     Only)    Only)
                                                                                 Only)
56.        Wikipedia page for             Admissible    FRE 802 (hearsay) as                      X
           “Magazine (firearms)”,         (Photos       to text.
           https://en.wikipedia.org/wiki/ only)
           Magazine_(firearms)
           Ex. 7 (Duncan v. Becerra,
           Case No. 3:17-CV-01017-
           BEN-JLB) 2
           00242-249 (Photos only)
57.        Pages 33-36 of NRA Guide      Admissible     FRE 802 (hearsay) as                      X
           to the Basics of Pistol       (Photos        to text.
           Shooting (2d ed. 2009)        only)
           Ex. 8 (Duncan v. Becerra,
           Case No. 3:17-CV-01017-
           BEN-JLB)
           00250-255 (Photos only)
58.        Pages 22-36 of John Malloy, All                                                        X
           Complete Guide to Guns      Purposes
           & Shooting (DBI Books, Inc.
           1995)
           Ex. 9 (Duncan v. Becerra,
           Case No. 3:17-CV-01017-
           BEN-JLB)
           00256-273
59.        Pages 95-99 of John Malloy, All                                               6/5      X
           Complete Guide to Guns      Purposes
           & Shooting (DBI Books, Inc.
           1995)
           Ex. 10 (Duncan v. Becerra,
           Case No. 3:17-CV-01017-
           BEN-JLB)
           00281-288


       2
        Exhibits to the Declaration of Anna K. Barvir in Support of Plaintiffs’ Motion for Summary
  Judgment or, Alternatively, Partial Summary Judgment, Virginia Duncan, et al. v. Xavier Becerra,
  et al., Case No. 3:17-cv-01017- BEN-JLB, ECF 50-8, et seq. (USDC-SD CA Mar. 5, 2018).
      FOURTH AMENDED JOINT EXHIBIT LIST                                                           4
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                                       PLAINTIFFS’ EXHIBITS

No.             Description            Stipulated 1       Defendants’          Pre-    Ident.   Admit.
                                                          Objection(s)        admit.   (Court   (Court
                                                                              (Court     Use      Use
                                                                                Use     Only)    Only)
                                                                               Only)
61.     Pages 168-70 of Lewis          All                                                      X
        Winant, Firearms Curiosa       purposes
        (2009) (1st pub. 1954)
        Ex. 13 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00334-339
62.     16-Shot Wheel Lock, Am.’s      Admissible     FRE 802 (hearsay) as                      X
        1st Freedom (May 10, 2014)     (Photos        to text.
        Ex. 14 (Duncan v. Becerra,     only)
        Case No. 3:17-CV-01017-
        BEN-JLB)00340-342
        (Photos only)
65.     Ex. 18 (Duncan v. Becerra,     Admissible     FRE 802 (hearsay) as                      X
        Case No. 3:17-CV-01017-        (Photos        to text.
        BEN-JLB) Pages 69-70 of        only)
        John Plaster, The History of
        Sniping and Sharpshooting
        (2008)
        Ex. 17 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00386-390 (Photos only)

67.     Wikipedia page for             Admissible     FRE 802 (hearsay) as                      X
        “Girandoni Air Rifle”,         (Photos        to text.
        https://en.wikipedia.org/wiki/ only)
        Girandoni_air_rifle
        Ex. 20 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00402-405 (Photos only)




      FOURTH AMENDED JOINT EXHIBIT LIST                                                         5
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                                      PLAINTIFFS’ EXHIBITS

No.             Description           Stipulated 1       Defendants’          Pre-    Ident.   Admit.
                                                         Objection(s)        admit.   (Court   (Court
                                                                             (Court     Use      Use
                                                                               Use     Only)    Only)
                                                                              Only)
68.     Page 683 of Norm              All                                                      X
        Flayderman, Flayderman’s      Purposes
        Guide to Antique American
        Firearms and Their Values
        (9th ed. 2007)
        Ex. 21 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00406-409
69.     Page 33 of Jim Supica, Doug   Admissible     FRE 802 (hearsay) as                      X
        Wicklund & Philip             (Photos        to text.
        Shreier, Treasures of the     only)
        NRA National Firearms
        Museum (2013)
        Ex. 22 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00410-413 (Photos only)
70.     Pages 16, 148-49 and 167 of   All                                                      X
        Jack Dunlap, American         purposes
        British and Continental
        Pepperbox Firearms (1964)
        Ex. 23 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00414-420

71.     Pages 249-50 of Lewis         All                                                      X
        Winant, Firearms Curiosa      Purposes
        (2009) (1st pub. 1954)
        Ex. 24 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00421-425



      FOURTH AMENDED JOINT EXHIBIT LIST                                                        6
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                                      PLAINTIFFS’ EXHIBITS

No.             Description           Stipulated 1    Defendants’        Pre-    Ident.   Admit.
                                                      Objection(s)      admit.   (Court   (Court
                                                                        (Court     Use      Use
                                                                          Use     Only)    Only)
                                                                         Only)
73.     Pages 711, 713, and 716 of    All                                                 X
        Norm Flayderman,              Purposes
        Flayderman’s Guide to
        Antique American Firearms
        and Their Values (9th ed.
        2007)
        Ex. 26 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00429-434
74.     Pages 9-17, 19-44 of Harold   All                                                 X
        F. Williamson, Winchester:    Purposes
        The Gun That Won the West
        (1952)
        Ex. 27 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00442-479
75.     Pages 303-06 of Norm          All                                        6/5      X
        Flayderman, Flayderman’s      Purposes
        Guide to Antique American
        Firearms and Their
        Values (9th ed. 2007)
        Ex. 28 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00480-486
77.     Page 49 of Harold F.          All                                                 X
        Williamson, Winchester: The   purposes
        Gun That Won the West
        (1952)
        Ex. 30 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00498-501


      FOURTH AMENDED JOINT EXHIBIT LIST                                                   7
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                                     PLAINTIFFS’ EXHIBITS

No.             Description          Stipulated 1    Defendants’        Pre-    Ident.   Admit.
                                                     Objection(s)      admit.   (Court   (Court
                                                                       (Court     Use      Use
                                                                         Use     Only)    Only)
                                                                        Only)
78.     Pages 11 and 22-35 of R.L.   All                                                 X
        Wilson, Winchester: An       purposes
        American Legend (1991)
        Ex. 31 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00509-526
79.     Pages 116-29 of Louis A.     All                                        6/5      X
        Garavaglia & Charles G.      purposes
        Worman, Firearms of the
        American West (1985)
        Ex. 32 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00527-543
80.     Pages 307-12 of Norm         All                                                 X
        Flayderman, Flayderman’s     Purposes
        Guide to Antique American
        Firearms and Their Values
        (9th ed. 2007)
        Ex. 33 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00551-559
81.     Pages 137, 1240-41 of the    All                                                 X
        2014 Standard Catalogue of   Purposes
        Firearms (Jerry Lee ed.
        2013)
        Ex. 34 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00560-565




      FOURTH AMENDED JOINT EXHIBIT LIST                                                  8
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                                      PLAINTIFFS’ EXHIBITS

No.             Description           Stipulated 1    Defendants’        Pre-    Ident.   Admit.
                                                      Objection(s)      admit.   (Court   (Court
                                                                        (Court     Use      Use
                                                                          Use     Only)    Only)
                                                                         Only)
83.     Pages 122-23 of Norm          All                                        6/5      X
        Flayderman, Flayderman’s      Purposes
        Guide to Antique American
        Firearms and Their Values
        (9th ed. 2007)
        Ex. 36 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00571-575
84.     Pages 60-63, 67-71, 204-208, All                                                  X
        244-45 Lewis Winant,         Purposes
        Firearms Curiosa (2009) (1st
        pub. 1954)
        Ex. 37 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00576-594
85.     Pages 708-09 of the 2014     All                                                  X
        Standard Catalog of Firearms Purposes
        Ex. 38 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00595-599
86.     Pages 23, 30-32, 38-39, 54-   All                                        6/5      X
        55, and 272 of John W.        Purposes
        Breathed, Jr. & Joseph J.
        Schroeder, Jr., System
        Mauser: A Pictorial History
        of the Model 1896 Self-
        Loading Pistol (1967)
        Ex. 39 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00600-611




      FOURTH AMENDED JOINT EXHIBIT LIST                                                   9
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                                       PLAINTIFFS’ EXHIBITS

No.             Description            Stipulated 1   Defendants’        Pre-    Ident.    Admit.
                                                      Objection(s)      admit.   (Court    (Court
                                                                        (Court     Use       Use
                                                                          Use     Only)     Only)
                                                                         Only)
88.     Pages 191-92 of Jim Perkins,   All                                                X
        American Boys Rifles 1890-     Purposes
        1945 (1976)
        Ex. 41 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00625-629
89.     Page 84 of the 2014 Standard All                                                  X
        Catalogue of Firearms (Jerry Purposes
        Lee ed. 2013)
        Ex. 42 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00630-633

91.     Page 294 of Gun Digest 24th    All                                                X
        Anniversary Deluxe Edition     Purposes
        (John T. Amber ed. 1969)
        Ex. 44 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00645-648

92.     Page 1102 of the 2014          All                                                X
        Standard Catalogue of          Purposes
        Firearms (Jerry Lee ed.
        2013)
        Ex. 45 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00649-652




      FOURTH AMENDED JOINT EXHIBIT LIST                                                   10
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                                      PLAINTIFFS’ EXHIBITS

No.             Description           Stipulated 1   Defendants’        Pre-    Ident.    Admit.
                                                     Objection(s)      admit.   (Court    (Court
                                                                       (Court     Use       Use
                                                                         Use     Only)     Only)
                                                                        Only)
93.     Page 1173 of the 2014         All                                                X
        Standard Catalogue of         Purposes
        Firearms (Jerry Lee ed.
        2013)
        Ex. 46 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00653-656
94.     Pages 182-83, 432-33 of the   All                                                X
        2014 Standard Catalogue of    Purposes
        Firearms (Jerry Lee ed.
        2013)
        Ex. 47 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00657-663
95.     Pages 464-65 of the 2014      All                                                X
        Standard Catalogue of         Purposes
        Firearms (Jerry Lee ed.
        2013)
        Ex. 48 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00664-668
96.     Pages 72-73 of the 2014       All                                                X
        Standard Catalogue of         Purposes
        Firearms (Jerry Lee ed.
        2013) and pages 216-17 of
        Joseph J. Schroeder, Jr.,
        System Mauser: A Pictorial
        History of the Model 1896
        Self-Loading Pistol (1967)
        Ex. 49 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00669-677


      FOURTH AMENDED JOINT EXHIBIT LIST                                                  11
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                                     PLAINTIFFS’ EXHIBITS

No.             Description          Stipulated 1   Defendants’        Pre-    Ident.    Admit.
                                                    Objection(s)      admit.   (Court    (Court
                                                                      (Court     Use       Use
                                                                        Use     Only)     Only)
                                                                       Only)
97.     Page 121 of the 2014         All                                                X
        Standard Catalogue of        Purposes
        Firearms (Jerry Lee ed.
        2013)
        Ex. 50 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00678-681
98.     Page 184 of the 2014         All                                                X
        Standard Catalogue of        Purposes
        Firearms (Jerry Lee ed.
        2013)
        Ex. 51 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00682-685
99.     Pages 369-74, 377-78, 380-    All                                               X
        87, 391, 395-96, 398-99,      Purposes
        401-07, 409-11, 413-14, 438-
        47, and 454 from Gun Digest
        2017 (Jerry Lee ed., 71st ed.
        2016)
        Ex. 52 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00693-736, 00744-747
101.    Pages 73-97 of The           All                                                X
        Complete Book of             Purposes
        Autopistols: 2013 Buyer’s
        Guide (2013)
        Ex. 54 (Duncan v. Becerra,
        Case No. 3:17-CV-01017-
        BEN-JLB)
        00775-800




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                                      PLAINTIFFS’ EXHIBITS

No.            Description            Stipulated 1   Defendants’        Pre-    Ident.    Admit.
                                                     Objection(s)      admit.   (Court    (Court
                                                                       (Court     Use       Use
                                                                         Use     Only)     Only)
                                                                        Only)
117.   Video demonstration of         All                                       5/30     X
       changing magazine, Massad      purposes
       Ayoob                          (subject to
                                      Daubert
                                      ruling)
120.   Make Model Sold in Oregon      All                                                X
       -PDF OREGON015644              purposes


121.   Make Model Sold in Oregon      All                                                X
       - XLS OREGON015644             purposes

122.   Make Model Sold in Oregon      All                                                X
       - Pivot Tables (derived from   purposes
       OREGON015644)

183.   Defendants’ Amended            All
       Responses to Plaintiffs’       purposes
       Interrogatories
194.   Curriculum Vitae of Massad     FRE 104                                   5/30     X
       Ayoob (Exhibit 1 to ECF 73)

196.   Curriculum Vitae of Ashley     FRE 104                                   6/5      X
       Hlebinsky (Exhibit 1 to ECF
       72)
197.   Curriculum Vitae of Mark       FRE 104                                   6/5      X
       Hanish (ECF 80 pp. 4-7)

198.   Curriculum Vitae of Gary       FRE 104                                   6/8      X
       Kleck (Exhibit 1 to ECF 76)




   FOURTH AMENDED JOINT EXHIBIT LIST                                                     13
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                                       DEFENDANTS’ EXHIBITS

No.            Description              Stipulated         Plaintiffs’          Pre-     Ident.    Admit.
                                                          Objection(s)         admit.    (Court    (Court
                                                                               (Court      Use       Use
                                                                                 Use      Only)     Only)
                                                                                Only)
502   Carrick, Michael. Meriwether All
      Lewis’s Air Gun, Michael F. Purposes
      Carrick, We Proceeded On,
      Lewis and Clark Trail Heritage                                                                    X
      Foundation (Nov. 2002), p. 15
      (Carrick Decl. Ex. 2)

503   Recreation of an Austrian Admissible           FRE 802 (hearsay) as
      Girardoni               system (Photos         to text.
      accoutrements bag, including only)
      bullet mold, air pump, spare
      air flasks, wrenches and ladle,
                                                                                                        X
      available                    at
      https://en.wikipedia.org/wiki/
      Girardoni_air_rifle#/media/Fil
      e:Austrian_Girandoni_system
      _Accouterments_Bag.jpg
504   Girardoni Air Gun (original Admissible         FRE 802 (hearsay) as
      1780      example)    Video, (Photos           to text.
      Forgotten Weapons, available only)
                                                                                                        X
      at
      https://www.youtube.com/wat
      ch?v=2dZLeEUE940
509   U.S. v. Earnest, United States
      District Court, Southern                       FRE 802 (hearsay);
      District of California, No. 3-                 FRE 402 (relevance)                  6/6           X
      19-cr-1850-AJB, Change of
                                                     MIL 4, 5 (DENIED)
      Plea Transcript (Sept. 17,
      2021)
535   Curriculum Vitae of Lucy          FRE 104
      Allen 3                                                                             6/7           X




      3
       Plaintiffs filed motions to exclude expert testimony under Daubert and Federal Rule of
  Evidence 702. If granted, these motions would affect the admissibility of a substantial portions of
  Defendants’ and Intervenor’s exhibits.
   FOURTH AMENDED JOINT EXHIBIT LIST                                                              14
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                                       DEFENDANTS’ EXHIBITS

No.            Description              Stipulated        Plaintiffs’       Pre-    Ident.    Admit.
                                                         Objection(s)      admit.   (Court    (Court
                                                                           (Court     Use       Use
                                                                             Use     Only)     Only)
                                                                            Only)
536   Allen Declaration Table (p.       FRE 703      FRE 802 (hearsay)
      8). Number of Shots Fired in                   MIL 2 (DENIED)
      Self-Defense Based on NRA
      Armed Citizen Incidents in                                                     6/7          X
      the United States, January
      2011 - May 2017
537   Allen Declaration Table (p.       FRE 703      FRE 802 (hearsay)
      13). Number of Shots Fired in                  MIL 4, 5 (DENIED)
      Self-Defense in the Home
                                                                                     6/7          X
      Based on Random Selection
      of Articles from Factiva,
      January 2011 - May 2017
538   Allen Declaration Table (p.    FRE 703         FRE 802 (hearsay)
      18). Numbers of Fatalities and                 MIL 4, 5 (DENIED)
      Injuries in Public Mass                                                        6/7          X
      Shootings, 1982 - October
      2022
540   Allen Declaration Ex. B.          FRE 703      FRE 802 (hearsay)
      Public Mass Shootings Data,                    MIL 4, 5 (DENIED)               6/7          X
      1982 - October 2022

541   Allen Declaration Table (p.       FRE 703      FRE 802 (hearsay)
      12). Average Number of                         MIL 2 (DENIED)
      News Stories by Number of
                                                                                     6/7          X
      Shots Fired in Factiva Stories
      on Incidents of Self-Defense
      with a Firearm, January 2011
544   Curriculum Vitae of Brian         FRE 104
      DeLay                                                                          6/6          X

545   April 18, 1806, entry by          All
      Meriwether Lewis, Journals        Purposes
      of the Lewis & Clark
      Expedition, available at                                                                    X
      https://lewisandclarkjournals.
      unl.edu/item/lc.jrn.1806-04-
      18#lc.jrn.1806-04-18.01

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                                                                               Use     Only)     Only)
                                                                              Only)
546   August 30, 1803, entry by         All
      Meriwether Lewis, Journals        Purposes
      of the Lewis & Clark
      Expedition, available at                                                                      X
      https://lewisandclarkjournals.
      unl.edu/item/lc.mult.1803-08-
      30kloefkorn
547   Mauser Model 712              Admissible       FRE 802 (hearsay) as
      “Schnellfeuer” Machine Pistol (Photos          to text.
      image on the NRA Museums      only)
      Website, available at
      https://www.nramuseum.org/g
      uns/the-galleries/wwii,-
                                                                                                    X
      korea,-vietnam-and-beyond-
      1940-to-present/case-37-
      wwii-the-axis,-germany-
      italy/mauser-model-712-
      schnellfeuer-machine-
      pistol.aspx
548   DMW Model 1914 Artillery       Admissible      FRE 802 (hearsay) as
      Luger Snail Drum Magazine      (Photos         to text.
      image on the NRA Museums       only)
      Website, available at
      https://www.nramuseum.org/g
      uns/the-galleries/world-war-i-                                                                X
      and-firearms-innovation/case-
      34-world-war-i-the-central-
      powers/dwm-model-1914-
      artillery-luger-snail-drum-
      magazine.asp
549   Henry Rifle 1860 Instruction  Admissible       FRE 802 (hearsay) as
      Manual, available at          (Photos          to text.
      http://www.ubertireplicas.com only)
      /wp-                                                                                          X
      content/uploads/2018/08/Man
      uale-Istruzioni-1860-
      HENRY.pdf


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                                                                              Use     Only)     Only)
                                                                             Only)
550   Henry Rifle Patent Drawing,    All
      1860, available at             Purposes
      https://en.wikipedia.org/wiki/                                                               X
      Henry_rifle#/media/File:Paten
      t_drawing_Henry_Rifle.jpg
551   Puckle Gun Images, Institute     Admissible   FRE 802 (hearsay) as
      of Military Technology,          (Photos      to text.
      available at                     only)                                                       X
      https://www.instmiltech.com/t
      he-puckle-gun/
552   Puckle Gun Patent, 1718,         All
      Institute of Military            Purposes                                       6/8
      Technology, available at                                                                     X
      https://www.instmiltech.com/t                                                   6/9
      he-puckle-gun/
553   Lorenzoni Repeating              Admissible   FRE 802 (hearsay) as
      Flintlock images, Met            (Photos      to text.
      Museum, available at             only)                                                       X
      https://www.metmuseum.org/
      art/collection/search/788263
554   Vanderlinden, Anthony,         Admissible     FRE 802 (hearsay) as
      Winchester Lever-Actions Go (Photos           to text.
      To War, NRA American           only)
      Rifleman (June 11, 2015).                                                                    X
      https://www.americanrifleman
      .org/content/winchester-lever-
      actions-go-to-war/
555   Curriculum Vitae of Louis        FRE 104
      Klarevas [Klarevas Decl. Ex.                                                    6/6          X
      A]

556   Dataset maintained by Louis      FRE 703      FRE 802 (hearsay)
      Klarevas [Klarevas Decl. Ex.                                                    6/6          X
      C]




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563   Klarevas Declaration Table 3.    FRE 703      FRE 802 (hearsay)
      The Average Death Tolls                       MIL 4, 5 (DENIED)
      Associated with the Use of
                                                                                    6/6          X
      LCMs in High-Fatality Mass
      Shootings in the U.S., 1990-
      2022
564   Klarevas Declaration Table 4.    FRE 703      FRE 802 (hearsay)
      Mass Shootings Resulting in                   MIL 4, 5 (DENIED)
      Double-Digit Fatalities in                                                    6/6          X
      U.S. History, 1776-2022
565   Klarevas Declaration Table 5.    FRE 703      FRE 802 (hearsay)
      Firearm Models Sold with                      MIL 4, 5 (DENIED)
      Factory-Issue LCMs in U.S.,                                                   6/6          X
      1955-1995
566   Klarevas Declaration Table 6.    FRE 703      FRE 802 (hearsay)
      Incidence and Fatality Rates                  MIL 4, 5 (DENIED)
      for High-Fatality Mass
                                                                                    6/6          X
      Shootings, by Whether or Not
      Bans on LCMs Were in
      Effect, 1990-2022
567   Klarevas Declaration Figure      FRE 703      FRE 802 (hearsay)
      1. Annual Trends in High-                     MIL 4, 5 (DENIED)               6/6          X
      Fatality Mass Shooting
      Incidents, 1990-2022
568   Klarevas Declaration Figure      FRE 703      FRE 802 (hearsay)
      2. Annual Trends in High-                     MIL 4, 5 (DENIED)               6/6          X
      Fatality Mass Shooting
      Fatalities, 1990-2022
569   Klarevas Declaration Figure      FRE 703      FRE 802 (hearsay)
      3. Share of High-Fatality                     MIL 4, 5 (DENIED)
      Mass Shooting Incidents                                                       6/6          X
      Involving LCMs, 1990-2022




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                                                                              Only)
570   Klarevas Declaration Figure       FRE 703      FRE 802 (hearsay)
      4. Share of High-Fatality                      MIL 4, 5 (DENIED)
      Mass Shooting Deaths                                                             6/6          X
      Resulting from Incidents
      Involving LCMs, 1990-2022
571   Klarevas Declaration Figure       FRE 703      FRE 802 (hearsay)
      5. Percentage of High-Fatality                 MIL 4, 5 (DENIED)
      Mass Shootings Involving                                                         6/6          X
      LCMs by Fatality Threshold,
      1990-2022
572   Klarevas Declaration Figure       FRE 703      FRE 802 (hearsay)
      6. Mass Shootings Resulting                    MIL 4, 5 (DENIED)                 6/6          X
      in Double-Digit Fatalities in
      U.S. History, 1776-2022
573   Klarevas Declaration Figure       FRE 703      FRE 802 (hearsay)
      7. Mass Shootings Resulting                    MIL 4, 5 (DENIED)
      in Double-Digit Fatalities in                                                    6/6          X
      U.S. History, 1949-2022
574   Curriculum Vitae of David FRE 104
      McDowall, Ph.D. [McDowall                                                        6/8          X
      Decl. Ex. A]

582   Curriculum Vitae of Roger         FRE 104
      Pauly                                                                            6/8          X

583   17th century Musket Manual, Admissible         FRE 802 (hearsay) as
      available at                 (Photos           to text.
      https://commons.wikimedia.or only)                                                            X
      g/wiki/File:Manual_of_the_M
      usketeer,_17th_Century.jpg
584   Photograph: Early Matchlock Admissible         FRE 802 (hearsay) as
      Design, available at         (Photos           to text.
      https://commons.wikimedia.or only)                                                            X
      g/wiki/File:PS8004046.jpg




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                                                      Objection(s)        admit.   (Court    (Court
                                                                          (Court     Use       Use
                                                                            Use     Only)     Only)
                                                                           Only)
585   Photograph Wheel Lock in       Admissible   FRE 802 (hearsay) as
      the Firing Position, available (Photos      to text.
      at                             only)
                                                                                                 X
      https://commons.wikimedia.or
      g/wiki/File:Wheellock_mecha
      nism_01.png
586   Photograph: Flintlock         Admissible    FRE 802 (hearsay) as
      Mechanism, available at       (Photos       to text.
      https://commons.wikimedia.or only)                                                         X
      g/wiki/File:Flintlock_Blunder
      buss_MET_DP165769.jpg
587   Photograph: Brown Bess       Admissible     FRE 802 (hearsay) as
      Musket, available at         (Photos        to text.
      https://commons.wikimedia.or only)
                                                                                                 X
      g/wiki/File:Richard_Wilson_
      Brown_Bess_Musket_tranpar
      ent.png
588   Photograph: 1808 American    Admissible     FRE 802 (hearsay) as
      Rifle, available at          (Photos        to text.
      https://commons.wikimedia.or only)
      g/wiki/File:Virginia_Manufac                                                               X
      tory_1808_Contract_Flintlock
      _Rifle-NMAH-
      AHB2015q037944.jpg
589   Photograph: Two Minie Balls, Admissible     FRE 802 (hearsay) as
      available at                 (Photos        to text.
      https://commons.wikimedia.or only)                                            6/5          X
      g/wiki/File:Minie_Balls.jpg

590   Photograph: Percussion Lock, Admissible     FRE 802 (hearsay) as
      available at                  (Photos       to text.
      https://commons.wikimedia.or only)                                                         X
      g/wiki/File:Perkussionsschlos
      s-Le_Page-in-Laderast.jpg




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                                                     Objection(s)        admit.   (Court    (Court
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                                                                           Use     Only)     Only)
                                                                          Only)
591   Photograph: 1851 Model Colt Admissible     FRE 802 (hearsay) as
      Pistol, available at         (Photos       to text.
      https://commons.wikimedia.or only)
      g/wiki/File:Colt_Model_1851                                                  6/5          X
      _Navy_Percussion_Revolver,
      _serial_no._2_MET_LC-
      68_157_2-015.jpg
592   Photograph Sharps            Admissible    FRE 802 (hearsay) as
      Breechloader in closed       (Photos       to text.
      position, available at       only)
                                                                                                X
      https://commons.wikimedia.or
      g/wiki/File:Sharps_Carbine_c
      lose-up.jpg
593   Photograph Sharps             Admissible   FRE 802 (hearsay) as
      Breechloader in open          (Photos      to text.
      position, available at        only)
                                                                                   6/5          X
      https://commons.wikimedia.or
      g/wiki/File:Sharps_Rifle_Acti
      on.JPG
594   Photograph: Late Nineteenth  Admissible    FRE 802 (hearsay) as
      Century Metal Cartridges,    (Photos       to text.
      available at                 only)
                                                                                   6/5          X
      https://commons.wikimedia.or
      g/wiki/File:Cal_45_LongColt.
      JPG
595   Photograph: Henry Rifle,     Admissible    FRE 802 (hearsay) as
      available at                 (Photos       to text.
      https://commons.wikimedia.or only)                                                        X
      g/wiki/File:NMAH-2004-
      26295-12.jpg
596   Photograph: Reloading the     Admissible   FRE 802 (hearsay) as
      Henry Rifle, available at     (Photos      to text.
      https://commons.wikimedia.or only)
                                                                                                X
      g/wiki/File:Henry_rifle_opera
      tion_03_loading_up_the_cartr
      idges.jpg


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                                                     Objection(s)        admit.   (Court    (Court
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                                                                          Only)
597   Photograph: Lee-Metford      Admissible    FRE 802 (hearsay) as              6/5
      Rifle, available at          (Photos       to text.
      https://commons.wikimedia.or only)
                                                                                                X
      g/wiki/File:Lee-
      Metford_Mk_II_-
      _AM.032034.jpg
598   Photograph: Gatling Gun,      Admissible   FRE 802 (hearsay) as
      available at                  (Photos      to text.
      https://commons.wikimedia.or only)                                                        X
      g/wiki/File:Gatling_gun,_Brit
      ish_1865_(16837609147).jpg
599   Photograph: Maxim Gun,       Admissible    FRE 802 (hearsay) as
      available at                 (Photos       to text.
      https://commons.wikimedia.or only)                                                        X
      g/wiki/File:Metralhadora_188
      4.jpg
600   Photograph: Colt M1911,      Admissible    FRE 802 (hearsay) as              6/5
      available at                 (Photos       to text.                          6/8          X
      https://commons.wikimedia.or only)
      g/wiki/File:M1911A1.png
601   Photograph: Artillery Luger, Admissible    FRE 802 (hearsay) as
      available at                 (Photos       to text.
                                                                                                X
      https://commons.wikimedia.or only)
      g/wiki/File:Arty08.jpg
602   Photograph: Bergmann         Admissible    FRE 802 (hearsay) as
      Machine Pistol 18, available (Photos       to text.
      at                           only)
                                                                                                X
      https://commons.wikimedia.or
      g/wiki/File:Bergmann_MP18.
      1_noBG.png
603   Photograph: Thompson         Admissible    FRE 802 (hearsay) as
      Submachine Gun, available at (Photos       to text.
      https://commons.wikimedia.or only)                                           6/8          X
      g/wiki/File:Thompson_subma
      chine_gun_noBG.png



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                                                                               Only)
604   Photograph: StG44            Admissible         FRE 802 (hearsay) as
      Sturmgewahr, available at    (Photos            to text.
      https://commons.wikimedia.or only)                                                             X
      g/wiki/File:Sturmgewehr_44.j
      pg
605   Photograph: Comparison M-          Admissible   FRE 802 (hearsay) as
      16A2 and AK-47, available at       (Photos      to text.
      https://commons.w0ikimedia.        only)                                          6/8          X
      org/wiki/File:M16_and_AK-
      47_comparison.png
606   Curriculum Vitae of Brennan        FRE 104
      Rivas                                                                             6/7          X

607   Confederate Bowie Knife and        All
      Scabbard, National Museum          Purposes
      of American History,
                                                                                        6/7          X
      https://americanhistory.si.edu/
      collections/search/object/nma
      h_438749
608   Curriculum Vitae of Dr.            FRE 104
      Michael Siegel, MD                                                                6/6          X

630   Koper, C.S. (2004). An         All
      updated assessment of the      Purposes
      Federal Assault Weapons Ban:
      Impacts on gun markets and
      gun violence, 1994-2003
                                                                                                     X
      (Report to the National
      Institute of Justice).
      Philadelphia: Jerry Lee Center
      of Criminology, University of
      Pennsylvania
632   Curriculum Vitae of Robert         FRE 104
      Spitzer [Spitzer Decl. Ex. A]                                                     6/8          X




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                                                                            Only)
633   Firearm Hardware                FRE 703      FRE 802 (hearsay)
      Restrictions Table (Years of
                                                                                     6/8          X
      Enactment) [Spitzer Decl.
      Ex. B]
634   Dangerous Weapons               FRE 703      FRE 802 (hearsay)
      Restrictions (Years of
                                                                                     6/8          X
      Enactment) [Spitzer Decl.
      Ex. C]
635   Machine Gun and Semi-           FRE 703      FRE 802 (hearsay)
      Automatic Firearms Laws                                                        6/8          X
      [Spitzer Decl. Ex. D]

636   Dangerous Weapons Laws          FRE 703      FRE 802 (hearsay)
      [Spitzer Decl. Ex. E]                                                          6/8          X

637   Trap Gun Restrictions           FRE 703      FRE 802 (hearsay)
      [Spitzer Decl. Ex. F]                                                          6/8          X

639   Bowie Knife Laws by Type        FRE 703      FRE 802 (hearsay)
      [Spitzer Decl. Ex. H]                                                          6/8          X

640   Gunpowder Gun Laws              FRE 703      FRE 802 (hearsay)
      [Spitzer Decl. Ex. I]                                                          6/8          X

641   Gunpowder Storage/Use           FRE 703      FRE 802 (hearsay)
      Laws [Spitzer Decl. Ex. J]                                                     6/8          X

645   Curriculum Vitae of Kevin       FRE 104
      Sweeney                                                                        6/7          X

646   Sweeney Declaration Ex. B.      Admissible   FRE 802 (hearsay) as
      Drawing of Repeating Gun        (Photos      to text.                                       X
                                      only)

647   De Witt Bailey, “The Wilson     All
      Gunmakers to Empire, 1730-      Purposes
      1832” American Society of                                                                   X
      Arms Collectors Bulletin No.
      85, 1935

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                                                                            Use     Only)     Only)
                                                                           Only)
648   Correspondence between John All
      [sic.] Belton and the          Purposes
      Continental Congress,
      available at
      https://en.wikisource.org/wiki                                                             X
      /Correspondence_between_Jo
      hn_Belton_and_the_Continen
      tal_Congress, exported May
      2, 2023
649   Benjamin Franklin to Silas       All
      Deane, August 27, 1775 in        Purposes
                                                                                                 X
      Papers of Benjamin Franklin,
      Vol. 22, 183-185
650   Declaration Table 1. Firearms FRE 703         FRE 802 (hearsay)
      in Probate Inventories of Male
                                                                                    6/7          X
      Decedents Filed between
      1740-1800
651   Declaration Table 2. Partial     FRE 703      FRE 802 (hearsay)
      Virginia Militia Returns
                                                                                    6/7          X
      Indicating Types of Arms in
      Use, 1781-1784
652   Curriculum Vitae of James        FRE 104
      Yurgealitis                                                                   6/6          X

653   Glock 2022 Buyer’s Guide,        All
      available at                     Purposes
                                                                                                 X
      https://us.glock.com, last
      accessed Dec. 11, 2022
654   Glock 2023 Buyer’s Guide,        All
      downloaded from                  Purposes
      https://us.glock.com/en/downl                                                              X
      oadable-materials, last
      accessed May 13, 2023




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655   Magpul PMAG 10 AK/AKM              All
      MOE, available at                  Purposes
      https://magpul.com/firearm-
                                                                                                 X
      accessories/pmags/ak-
      akm/pmag-10-ak-akm-
      moe.html
656   Magpul PMAG 10 GL9, 9x19           All
      – GLOCK G17, available at          Purposes
      https://magpul.com/firearm-                                                   6/6          X
      accessories/pmags/pmag-10-
      gl9-glock-g17.html
657   Magpul PMAG 10 AR/M4               All
      GEN M3 – GLOCK G17,                Purposes
      available at
                                                                                    6/6          X
      https://magpul.com/firearm-
      accessories/pmags/pmag-10-
      ar-m4-gen-m3.html
658   Ruger Pistols Available in         All
      Massachusetts,                     Purposes
      https://ruger.com/search/state                                                             X
      _ma/pistol
659   Sentry Tactical AR-15,             All
      available at                       Purposes
      https://sentrytactical.com/sent                                               6/6          X
      ry-hexmag-ar-15-m4-m16-
      magazine-series-2-10-rds/
660   Sig Sauer P226 MK25 Pistol,        All
      available at                       Purposes
                                                                                                 X
      https://www.sigsauer.com/p22
      6-mk25-full-size.html
661   Sig Sauer P365-380 Pistol,         All
      available at                       Purposes
                                                                                                 X
      https://www.sigsauer.com/p36
      5-380.html




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                                                                           Use     Only)     Only)
                                                                          Only)
662   Smith & Wesson - State       All
      Compliance (Massachusetts), Purposes
      https://www.smith-                                                                        X
      wesson.com/state-compliance,
      last accessed Dec. 11, 2022
663   Image of Colt AR-15, from         All
      Colt’s 1964 Dealer Catalog,       Purposes
      https://thecoltar15resource.co                                                            X
      m/1964-catalog/
664   Image of 10-round magazine        All
      for Browning 9mm “Hi              Purposes
      Power” semiautomatic pistol,
      https://www.brownells.com/g
                                                                                                X
      un-parts/magazines/handgun-
      magazines-parts/magazine-
      10-round-browning-high-
      power/
665   Page from Smith & Wesson’s        All
      online catalog, rifle with 10-    Purposes
      round capacity,
                                                                                   6/6          X
      https://www.smith-
      wesson.com/product/m-p-15-
      sport-ii-compliant
666   Page from Sportsman’s             All
      Warehouse online catalog,         Purposes
      California Compliant Glock
      Pistols,
      https://www.sportsmans.com/
      shooting-gear-gun-                                                           6/6          X
      supplies/handguns/glock-19-
      9mm-luger402in-black-
      nitrite-pistol-101-rounds-
      california-
      compliant/p/1155366




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                                                         Objection(s)      admit.   (Court    (Court
                                                                           (Court     Use       Use
                                                                             Use     Only)     Only)
                                                                            Only)
667   Page from Mec-Gar 10-online       All
      catalog, 10-round magazines       Purposes
      for use in firearms that come
      with high capacity magazines,
                                                                                                  X
      https://mec-
      gar.com/shop/magazines/sig-
      sauer/sig-sauer-p229-1-9mm-
      10-round/
668   Page from ProMag online           All
      catalog, 10-round magazines       Purposes
      for use in firearms that come
      with high capacity magazines,
                                                                                                  X
      https://promagindustries.com/
      fits-the-glock-model-17-19-
      26-9mm-10-rd-black-
      polymer/
670   Letter from Benjamin              All
      Franklin to George                Purposes
      Washington re Belton
      submarine (July 22, 1776),
                                                                                                  X
      available at
      https://founders.archives.gov/
      documents/Washington/03-
      05-02-0311
671   Spitzer Declaration Table 1.      FRE 703      FRE 802 (hearsay)
      Ammunition Magazine
                                                                                     6/8          X
      Restrictions in 23 States,
      1917-1934
672   Eyre Plaintiffs’ Responses to                  FRE 106
      Interrogatories (Set One) from                 (completeness)                  6/6          X
      Defendants, Interrogatory 9




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                                       DEFENDANTS’ EXHIBITS

No.            Description              Stipulated      Plaintiffs’       Pre-    Ident.    Admit.
                                                       Objection(s)      admit.   (Court    (Court
                                                                         (Court     Use       Use
                                                                           Use     Only)     Only)
                                                                          Only)
678   Surefire 100 Round AR-15
      Magazine, Terminal
      Performance, available at
      http://www.terminalperforma                                                  6/5          X
      nce.net/shop/magazines/surefi
      re-100-round-ar-15-mag/, last
      visited June 4, 2023.
679   LVMPD Criminal
      Investigative Report of the 1
      October Mass Casualty
      Shooting, Aug. 3, 2018,
      available at                                                                 6/5          X
      https://www.lvmpd.com/en-
      us/Documents/1-October-FIT-
      Criminal-Investigative-
      Report-FINAL_080318.pdf
689   Maps of Statutes Restricting
      Various Weapons                                                              6/8          X

692   Weise v. Becerra, United
      States District Court, Eastern
      District of California, No.
                                                                                   6/8          X
      2:17-cv-00903, Declaration of
      James Curcuruto (June 12,
      2017)
693   Firearm Production in the
      United States, NSSF (2019),
      available at
      https://www.nssf.org/wp-                                                     6/8          X
      content/uploads/2019/12/IIR_
      2019_Firearms_Production.pd
      f




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                                         DEFENDANTS’ EXHIBITS

No.             Description               Stipulated      Plaintiffs’       Pre-    Ident.    Admit.
                                                         Objection(s)      admit.   (Court    (Court
                                                                           (Court     Use       Use
                                                                             Use     Only)     Only)
                                                                            Only)
901    1813 La. Act 172, An Act
       Against Carrying Concealed
       Weapons, and Going Armed                                                      6/7          X
       in Public Places in an
       Unnecessary Manner
903    1881 Ark. Acts 191, An Act to
       Preserve the Public Peace and                                                 6/7
                                                                                                  X
       Prevent Crime, chap. XCVI                                                     6/8

905    The Daily Picayune “Carrying
       Concealed Weapons” (July                                                      6/7          X
       25, 1840)

909    New York Times “Editorial
       Article 3 – No Title” (June 13,                                               6/7          X
       1872)

910    The Southern Standard
       (Arkadelphia, Arkansas),
                                                                                     6/7          X
       “Concealed Weapons” (May
       1, 1875) (close up)
911    The Southern Standard
       (Arkadelphia, Arkansas),
                                                                                     6/7          X
       “Concealed Weapons” (May
       1, 1875) (full page)
916    Georgia General Tax Act for
       1895 and 1896, Part I, Title 2,                                               6/7          X
       Taxes and Public Debt




      FOURTH AMENDED JOINT EXHIBIT LIST                                                      30
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                                INTERVENORS’ EXHIBITS

 No.          Description           Stipulated     Plaintiffs’       Pre-    Ident.    Admit.
                                                  Objection(s)      admit.   (Court    (Court
                                                                    (Court     Use       Use
                                                                      Use     Only)     Only)
                                                                     Only)
736    Oxford Eng.     Dictionary, All                                        6/7          X
       “Magazine”                  Purposes
737    Oxford Eng. Dictionary, All                                            6/7          X
       “Accoutrements”         Purposes
738    Oxford Eng. Dictionary, All                                            6/7          X
       “Cartridge box”         Purposes

739    William Dobein James, “A All                                           6/7          X
       sketch of the life of Brig. Purposes
       Gen. Francis Marion and a
       history of his brigade”
       (1821).
742    George Washington, General All                                         6/7          X
       Orders (February 17, 1776) Purposes
743    George Washington, Letter All                                                       X
       to John Hancock (October Purposes
       10–11, 1777)
745    Admiral W. H. Smyth and All                                                         X
       Vice-Admiral Sir E. Belcher, Purposes
       The Sailor’s Word-Book: An
       Alphabetical Digest of
       Nautical Terms, London,
       1867
747    State Gazette of South All                                             6/7          X
       Carolina, July 16, 1787 Purposes
748    Evening Star (Washington, All                                          6/7          X
       D.C.), Jan. 9, 1868       Purposes

751    Daily Morning Chronicle All                                                         X
       (Washington, D.C.), Feb. 3, Purposes
       1872
753    George Washington, General All                                         6/7          X
       Orders (Jan. 22, 1780)     Purposes




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                                   INTERVENORS’ EXHIBITS

 No.          Description              Stipulated      Plaintiffs’       Pre-    Ident.    Admit.
                                                      Objection(s)      admit.   (Court    (Court
                                                                        (Court     Use       Use
                                                                          Use     Only)     Only)
                                                                         Only)
757    Jackson’s Oxford Journal, All                                                           X
       Mar. 20, 1756, p. 2       Purposes

761    Cedar Falls Gazette, Jan. 10, All                                          6/7          X
       1868, p. 3                    Purposes

763    The            Jeffersonian All                                            6/7          X
       (Stroudsburg, Pa.), Jan. 9, Purposes
       1868, p. 2.
776    Curriculum     Vitae       of FRE 104                                      6/7          X
       Professor Dennis Baron
777    Curriculum Vitae of Dr. FRE 104                                            6/6          X
       Mackenzie Cook
778    Missouri Republican (St. All                                               6/7          X
       Louis, Missouri), Fri. Sept. Purposes
       3, 1869
816    6/1/23    Screenshots      of                                              6/5          X
       SureFire Website

819    Patent No. 45,569 (1864)                                                   6/5          X


826    4/3/2023    Tweet     from Admitted                                        6/5          X
       University of Wyoming for bias, not
       Firearms Research Center   truth
829    4/19/2023    Tweet    from Admitted                                        6/5          X
       University of Wyoming for bias, not
       Firearms Research Center   truth
830    2/15/2023    Tweet    from Admitted                                        6/5          X
       University of Wyoming for bias, not
       Firearms Research Center   truth
835    5/12/2023    Tweet    from Admitted                                        6/5          X
       University of Wyoming for bias, not
       Firearms Research Center   truth


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                                INTERVENORS’ EXHIBITS

 No.         Description          Stipulated      Plaintiffs’       Pre-    Ident.    Admit.
                                                 Objection(s)      admit.   (Court    (Court
                                                                   (Court     Use       Use
                                                                     Use     Only)     Only)
                                                                    Only)
836    5/15/2023    Tweet    from Admitted                                   6/5          X
       University of Wyoming for bias, not
       Firearms Research Center   truth
838    5/23/2023    Tweet    from Admitted                                   6/5          X
       University of Wyoming for bias, not
       Firearms Research Center   truth
840    6/2/2023 Screenshot of                                                6/5          X
       University of Wyoming
       Firearms Research Center
       Website
844    FBI Reports on 1/8/11                                                 6/6          X
       shooting in Tucson, AZ

845    DOJ Statement on 4/27/19                                              6/6          X
       shooting   at     Poway
       Synagogue




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  DATED: June 19, 2023                    JURISLAW LLP

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FOURTH AMENDED JOINT EXHIBIT LIST                                                 34
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                          ATTORNEY CERTIFICATE OF SERVICE


    I hereby certify that on June 19, 2023, I have made service of the foregoing FOURTH
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CERTIFICATE OF SERVICE                                                               36
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CERTIFICATE OF SERVICE                                                              37
